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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

CITY OF CHICAGO,                             )
                                             )   No. 14 CV 4361
                          Plaintiff,         )
                                             )
      v.                                     )   Magistrate Judge Young B. Kim
                                             )
PURDUE PHARMA, L.P., et al.,                 )
                                             )   October 13, 2020
                          Defendants.        )

                          ORDER REGARDING
                    PROTECTIVE ORDER and ESI ORDER

      In accordance with the Stipulation of the parties, this Court adopts the

Protective Order and ESI Order entered in In re National Prescription Opiate

Litigation, No. 1-17-md-2804-DAP (“MDL”), with the following modifications:

      WHEREAS, disclosure and discovery activity in this action are likely to

involve production of confidential, proprietary, or private information for which

special protection from public disclosure and from use for any purpose other than

prosecuting this litigation may be warranted;

      WHEREAS, on September 29, 2015, the Court entered an Agreed Qualified

Protective Order for Protected Health Information (Dkt. No. 386) in this action;

      WHEREAS, on December 8, 2016, the Court entered an Amended Agreed

Confidentiality Order (Dkt. No. 487) in this action;

      WHEREAS, on May 5, 2017, the Court entered a Stipulated Order Regarding

Discovery of Electronically Stored Information (Dkt. No. 562) in this action;
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       WHEREAS, on December 20, 2017, this case was transferred to the Northern

District of Ohio to be coordinated with other actions in the MDL (see Dkt. No. 664);

       WHEREAS, on May 15, 2018, the MDL Court entered Case Management

Order No. 2: Protective Order (MDL Dkt. No. 441);

       WHEREAS, on May 15, 2018, the MDL Court entered Case Management

Order No. 3: Document and Electronically Stored Information Production Protocol

(MDL Dkt. No. 443) (the “MDL ESI Order”);

       WHEREAS, on February 11, 2019, the MDL Court entered an Order

Amending Case Management Order No. 2 (Protective Order) (MDL Dkt. No. 1357);

       WHEREAS, on September 29, 2019, the MDL Court entered Amendment to

CMO No. 2 Re: Inadvertent Production of Documents (MDL Dkt. No. 2687);

       WHEREAS, on September 29, 2019, the MDL Court entered Amendments to

CMO No. 2 Re: Confidentiality and Protective Order (MDL Dkt. No. 2688);

       WHEREAS, on October 29, 2019, the MDL Court entered the Agreed Order

Governing Privilege (MDL Dkt. No. 2882);

       WHEREAS, on December 30, 2019, this case was remanded to the Northern

District of Illinois (Dkt. No. 676);

       WHEREAS, Defendants have produced large volumes of documents in MDL

2804 pursuant to MDL Dkt. Nos. 441, 443, 1357, 2687, 2688, and 2882 (collectively,

the “MDL Orders”);

       WHEREAS, adhering to the MDL Orders, with certain revisions, will

promote efficiency for the Court and the parties;




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      WHEREAS, the Parties have agreed to meet and confer in good faith

regarding the form of production for certain categories of documents and data

subject to this stipulation and order as the need arises; and

      WHEREAS, good cause exists to adopt provisions of the MDL Orders, as

modified below, for disclosure and discovery activity in this action, and for this

adoption to supersede the above-referenced orders entered in this action at Dkt.

Nos. 487 and 562.

      NOW, THEREFORE, the Court hereby ORDERS that the MDL Orders shall

govern all disclosure and discovery activity in this action, except as modified below.

1. All references to “the Court” or “the United States District Court for the

   Northern District of Ohio” shall refer to the United States District Court for the

   Northern District of Illinois.

2. All references to “the Litigation” shall refer to City of Chicago v. Purdue Pharma

   L.P., et al., Case No. 14-cv-04361 (N.D. Ill.). Exhibit A to the MDL Protective

   Order shall be replaced by Exhibit A to this Stipulation.

3. Article XII in MDL Dkt No. 441, “HIPAA-Protected Information” is superseded

   and replaced by Dkt. No. 386, “Agreed Qualified Protective Order for Protected

   Health Information.”

4. The following paragraph relating to “Grounds for Asserting Privilege” in MDL

   Dkt. No. 2882 shall not apply to this action:


      The parties agree that federal common law governing privilege applies
      to privilege claims made in this MDL. Additionally, there are generally
      accepted legal principles and standards within the Sixth Circuit, and
      certain rulings have been made in this litigation related to claims of


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      privilege. These rulings made include Discovery Ruling No. 14, Parts 1
      through 9. See docket nos. 1321, 1353, 1359, 1380, 1387, 1395, 1498,
      1593, 1610, & 1666. These rulings and related principles/standards
      outlined therein shall be taken into consideration when deciding
      whether to claim privilege over a document or communication.


Notwithstanding this provision, nothing in this Order shall be construed to:

(i) prevent any party or third-party from relying on the substance or analysis of the

rulings referenced above in connection with arguments before this Court; or (ii) any

party’s or third party’s right to challenge such reliance.

                                               ENTER:


                                               ____________________________________
                                               Young B. Kim
                                               United States Magistrate Judge




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